        Case 1:14-ml-02570-RLY-TAB Document 22433 Filed 07/27/22 Page 1 of 1 PageID #:
                                         132610
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Southern District of Indiana


                     NANCY BRIGNONI                                  )
                             Plaintiff                               )
                                v.                                   )     Case No. 1:14-ml-2570-RLY-TAB
              COOK INCORPORATED, et al.                              )
                            Defendant                                ) This document relates to case no. 1:22-cv-06848-RLY-TAB

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Nancy Brignoni                                                                                                         .


Date:          07/27/2022                                                                      /s/Basil E. Adham
                                                                                               Attorney’s signature


                                                                                      Basil E. Adham TX Bar No. 24081742
                                                                                           Printed name and bar number
                                                                                             Johnson Law Group
                                                                                        2925 Richmond Ave, Suite 1700
                                                                                             Houston, TX 77098

                                                                                                     Address

                                                                                          IVC@johnsonlawgroup.com
                                                                                                 E-mail address

                                                                                                (713) 626-9336
                                                                                                Telephone number

                                                                                                (713) 626-3394
                                                                                                  FAX number


            Print                        Save As...                                                                      Reset
